










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





LUIS FABIAN GARCIA,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee. 

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No. 08-09-00194-CR

Appeal from
&nbsp;283rd District Court

of Dallas County, Texas

(TC # F-0752999-T)



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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Luis Fabian Garcia appeals his conviction of theft of property.  Appellant entered a plea of
true to the State’s motion to adjudicate guilt and the trial court assessed punishment at confinement
in the state jail for two years.  For the reasons that follow, we affirm.
FACTUAL SUMMARY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 15, 2007, Appellant entered a negotiated plea of guilty to theft.  In accordance
with the plea bargain, the trial court deferred adjudication of guilt and placed Appellant on deferred
adjudication community supervision for three years.  The State subsequently filed a motion to
adjudicate guilt alleging Appellant violated multiple terms and conditions of probation by testing
positive for cocaine, failing to report on several occasions in 2008 and 2009, failing to perform
community service hours as directed, failing to pay supervision fees, restitution, and the fine and
court costs, and failing to report to the Comprehensive Assessment and Treatment Services Program
as directed by the court.  At the hearing on the State’s motion, Appellant entered a written plea of
true to the allegations stated in the motion.  He also  stipulated in writing that he failed to report as
alleged, failed to pay restitution, supervision fees, fine and court costs though able to do so, he used
a controlled substance as alleged, failed to complete psychological evaluation and/or counseling as
directed, and he failed to perform community service as directed.  The trial court accepted
Appellant’s plea and assessed his punishment at confinement for two years in the state jail division. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;INABILITY TO PAY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his sole issue for review, Appellant complains that the State failed to show by a
preponderance of the evidence that he was able to pay the required fees, restitution, and court costs. 
The State responds that Appellant not only entered a plea of true to all of the allegations, he
stipulated that he had an ability to pay.  Further, he has not challenged all of the grounds for
revocation.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court was authorized to revoke Appellant’s deferred adjudication community
supervision and adjudicate his guilt on the original charge if the State proved by a preponderance of
the evidence that Appellant violated any condition of his community supervision.  See Tex.Code
Crim.Proc.Ann. art. 42.12 § 5(b)(Vernon Supp. 2009); Rickels v. State, 202 S.W.3d 759, 763
(Tex.Crim.App. 2006).  We review the trial court’s decision to proceed with an adjudication of guilt
for an abuse of discretion.  See Tex.Code Crim.Proc.Ann. art. 42.12 § 5(b)(determination to
proceed with adjudication of guilt on original charge is reviewable in same manner as order revoking
community supervision); Rickels, 202 S.W.3d at 763 (order revoking community supervision
reviewed for abuse of discretion).  The trial court does not abuse its discretion if the order revoking
community supervision is supported by a preponderance of the evidence; in other words, the greater
weight of the credible evidence would create a reasonable belief that the defendant has violated a
condition of his probation.  Rickels, 202 S.W.3d at 763-64.  In conducting our review, we view the
evidence in the light most favorable to the trial court’s ruling.  Cardona v. State, 665 S.W.2d 492

(Tex.Crim.App. 1984).  We defer to the trial court’s resolution of disputed facts and to any
reasonable inferences which can be drawn from those facts.  Cantu v. State, 253 S.W.3d 273, 282
(Tex.Crim.App. 2008).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In conducting our review, we also keep in mind that if a single ground for revocation is
supported by a preponderance of the evidence and is otherwise valid, then an abuse of discretion is
not shown.  Sanchez v. State, 603 S.W.2d 869, 871 (Tex.Crim.App. 1980); Gordon v. State, 4
S.W.3d 32, 35 (Tex.App.--El Paso 1999, no pet.).  To prevail, an appellant must successfully
challenge all the findings that support the revocation order.  See Jones v. State, 571 S.W.2d 191,
193-94 (Tex.Crim.App. [Panel Op.] 1978); Harris v. State, 160 S.W.3d 621, 626 (Tex.App.--Waco
2005, pet. stricken).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As noted by the State, Appellant entered a plea of true to each of the seven allegations stated
in the motion to adjudicate and he stipulated in writing that he had violated the terms and conditions
of probation by failing to report as alleged, failing to pay restitution, supervision fees, and the fine
and court costs “though able to do so,” by using a controlled substance as alleged, by failing to
complete psychological evaluation and/or counseling as directed, and by failing to perform
community service as directed.  Appellant’s plea of true and stipulation that he failed to pay “though
able to do so” is sufficient to support the trial court’s finding that Appellant violated the terms and
conditions of probation by failing to make the required payments.  Further, Appellant’s plea of true
and stipulation of evidence is sufficient to support each of the remaining grounds for revocation
which Appellant has failed to challenge on appeal.  Because the trial court did not abuse its
discretion by revoking Appellant’s deferred adjudication community supervision and adjudicating
guilt, we overrule the sole point and affirm the judgment of the trial court.

August 18, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                         
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


